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UN|TED STATES D|STR|CT COURT
D|STR|CT OF MASSACHUSE`ITS

C|V|L ACTION NOS. 18-10495-RWZ, 18-11498-RWZ, 18-12101-RWZ

|n re ROBERTJ. SPENL|NHAUER

ME|VIORANDU|V| OF DEC|S|ON

November 2, 2018

ZoBEL, s.D.J.

|n this consolidated bankruptcy appea|, Robert J. Spen|inhauer (“Debtor”)
challenges several orders from the United States Bankruptcy Court for the District of
Massachusetts. The parties submitted briefs in Civi| Action No. 18-10495-RWZ and, on
October 23, 2018, presented oral arguments regarding Civi| Action Nos. 18-10495-
RWZ, 18-11498-RWZ, and 18-12101-RWZ.

l. Factua| Background

Fol|owing are those aspects of the extensive proceeding in the bankruptcy court that

are relevant to these appea|s.

On December 16, 2013, the Debtor - in his individual capacity and as trustee and
beneficiary of RJS Realty Trust, C.C. Canal Realty Trust, and Classic Auto Realty Trust

- filed a voluntary Chapter 11 petition. 11 U.S.C. § 101 et seg.

On December 16, 2015, after becoming aware of actions by the Debtor inimical to

the proceedings, the bankruptcy court appointed Lynne F. Riley (“Trustee”) as the

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Chapter 11 trustee.1 §g_e |n re Spenlinhauer, No. 13-19191-JNF, 2016 WL 1452346 (D.
Mass. Apr. 13, 2016) (afhrming Chapter 11 trustee appointment). The Trustee shortly
thereafter uncovered the Debtor’s alleged tax |iabi|ities, which prompted the lnterna|
Revenue Service (“lRS")2 and the Massachusetts Department of Revenue (“DOR”) to

become involved in the proceedings.
A. The Vehicle Co|lection

On January 2l 2018, the Trustee filed an expedited motion to secure several of the
Debtor’s vehicles being stored at a foreclosed property in Ostervi|le, Massachusetts,
from which the Debtor would soon be evicted. To avoid potential loss to the estate, the
Trustee proposed that a licensed and bonded auctioneer collect the vehicles and keep
them in a secure facility in Holbrook, Massachusetts The Debtor responded by
informiing the court that some of the vehicles had been transferred to Parsonstie|d,
l\/|aine, and proposed that the remaining vehicles also be transported to the same

location prior to his likely eviction from the Ostervil|e property.

After a hearing on January 24, 2018, the court granted the Trustee’s motion because
her proposal presented “less risk of loss to the estate" when compared to the Debtor’s
suggestion to transport the vehicles “approximately 180 miles to Parsonsfield, Maine
and store them in an uninsured ‘barn.’” Docket # 1312 (“Turnover Order”).3 The court

noted that the Debtor failed to "provide any details on how the vehicles were going to be

 

1 |n particular, the Debtor completed several transactions without proper notice to or authorization
by the court, including a payment of $65,000 to redeem a recreational vehicle and to purchase another
vehic|e.

2 Fo||owing the bankruptcy court’s approach, l use “IRS" to refer to the United States of America,
as Creditor.
3 Un|ess otherwise indicated, docket citations in this l\/|emorandum refer to Case No. 13-bk-17191.

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transported to lV|aine” nor did he present “a proposal for returning the vehicles to
Massachusetts in the event the Trustee were to be authorized to take possession of
[them]." g The Debtor’s subsequent motion to vacate the order was denied. Docket

# 1319.
B. Case Dismissed and Reinstated

On March 6, 2018, the Trustee informed the court that the Debtor had not turned
over any vehicle keys or otherwise permitted the Trustee and auctioneer to implement
the court-ordered plan and that the vehicles were dispersed among eight different
locations - including the barn in Parsonsfie|d, Maine. The court thereupon ordered the

Debtor to:

show cause, in writing, on or before March 9, 2018 at noon
why he should not be held in contempt for failure to obey a
lawful order of the Court and why his Chapter 11 case
should not be converted to a case under Chapter 7 or
dismissed under 11 U.S.C. [§] 1112(b). Any party in interest
may tile a response to the order to show cause or motion or
request for relief relative to the Trustee’s Status Report by
March 9, 2018 at noon. The Debtor shall appear at a
hearing on March 12, 2018 at 10:00 am to respond to the
order to show cause and other requests for relief.

Docket # 1323 (“Show Cause Order”).

The Debtor responded that “[a]|| vehicles are safe," argued against conversion to a
Chapter 7 case, and “consent[ed] to the dismissal of [the] case." Docket # 1332. The
|RS supported the proposed conversion to Chapter 7 and explained various tax-related
estate liabilities that would be jeopardized if the case were to be dismissed. The

Trustee, however, did not respond.

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On lVlarch 9, 2018, the court dismissed the Debtor’s case entirely, explaining that its
decision was based on the |RS’s response, the Debtor’s submission, and the absence
of further responses or requests for relief. The Trustee, in an Emergency lVlotion for
Reconsideration, argued that dismissal was not in the best interests of the creditors and
explained that she understood the court’s order to be “directed to the Debtor" and not to
require her response. Shortly thereafter, the court stayed the dismissal, reviewed
additional briefing, held a hearing, and ultimately vacated its Dismissal Order and

reinstated the case.
C. Conversion to Chapter 7 and Contempt lssues

Fo||owing reinstatement, the Debtor continued to violate the court’s orders and
deadlines. On June 5, 2018, the Trustee filed a Motion for Contempt and Re|ated
Sanctions, based on her largely unsuccessful attempts to secure the vehicles pursuant
to the court’s January 24, 2018 Turnover Order. The Trustee also filed a Motion to
Convert the case to a Chapter 7 proceeding. §§ 11 U.S.C. § 1112(b). After hearing
both matters, the court granted the Trustee’s Motion to Convert. lt also issued an
“interim ordel*’ on the Motion for Contempt and Re|ated Sanctionsl which (i) required the
Debtor to provide the Trustee with the locations of all of the vehicles, as well as all keys,
registrations, titles, and other documents relating to ownership; (ii) authorized the
Trustee to “take all necessary action to safeguard and obtain possession of the
vehicles;" and (iii) scheduled an evidentiary hearing on the lVlotion for Contempt and

Re|ated Sanctions on July 10, 2018. Docket # 1510.

On August 10, 2018, the bankruptcyjudge issued her decision that the testimony

“unequivocally established” that the Debtor had not complied with the court’s June 25,

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2018 order and that, while testifying, he expressly admitted violating the January 24,
2018 Turnover Order. She set yet another deadline for compliance, which the Debtor

failed to meet.4

After another evidentiary hearing on September 17, 2018, the bankruptcyjudge
found that the Debtor "continue[d] to flagrantly disobey" court orders “without cause or
justification” and therefore imposed monetary sanctions. Docket # 1612. ln the event of
further noncompliance, the judge stated that she would consider “entry of orders of

arrest and incarceration.” g

Ultimate|y, the Debtor cooperated with the Trustee and facilitated recovery of the
vehicles from various sites on Cape Cod, Massachusetts, as well as the Parsonsfield,
lVlaine, location. As of the date of this l\/lemorandum, the vehicle collection is scheduled

for sale by public auction on November 3, 2018,
l. Jurisdiction and Standard of Review

Under 28 U.S.C. § 158(a), a district court has jurisdiction to hear appeals from a
bankruptcy judge’s “fina| judgments, orders and decrees." Generally, this court reviews

the bankruptcy court’s factual findings for clear error and its legal conclusions de novo.

 

|n re Handy, 624 F.3d 19, 21 (1st Cir. 2010). A bankruptcy court’s decision to grant a
Ru|e 60(b) motion is reviewed for abuse of discretion, ln re LaFata, 483 F.3d 13, 23 (1st
Cir. 2007) (citing Roger Edward;_LLC v. Fiddes & Son. Ltd., 427 F.3d 129l 132 (1st Cir.

2005)), as is its decision to convert a case to Chapter 7, ln re Andover Covered Bridr_:jel

 

4 lnstead, the Debtor sought an extension of the deadline, a trial regarding his alleged contempt,
and then objected - yet again - to turning over the vehicles to the auctioneer. The court denied the
motions and requests.

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LC_, 553 B.R. 162, 171 (B.A.P. 1st Cir. 2016) (citing ln re Gi|roy, No. BAP NH 07-054,
2008 WL 4531982, at *4 (B.A.P. 1st Cir. Aug. 4, 2008)), and its imposition of sanctions,
ln re Hann, 711 F.3d 235, 242 (1st Cir. 2013).

|l. Discussion

During the proceedings just described, the Debtor appealed the several bankruptcy
court orders regarding (a) the transport and storage of the vehicles; (b) the f
reinstatement of the bankruptcy case; (c) the conversion of the case to Chapter 7; and

(d) the contempt finding and imposition of sanctions. | address each appeal in turn.
A. Transport and Storage of Vehicles

After the Debtor appealed the bankruptcy court’s order denying his l\/lotion to Vacate
the Turnover Orderl l denied his lVlotion to Stay. Civil Action No. 18-10495-RWZ,
Docket # 7 (“[The Debtor] has not shown that his appeal is likely to succeed, nor that he
will be irreparably hanned. [`l'jhe [Turnover Order] is clearly in the public interest,

notwithstanding appellant's desire for a different place.").

Given the current status of the bankruptcy proceedings, l find no live issue with
respect to which this court could provide “effectual relief.” Horizon§_an_k & Tr. Co. v.
Massachusetts, 391 F.3d 48, 53 (1st Cir. 2004) (quoting Church of Scientology of
California v. United States, 506 U.S. 9, 12 (1992)). Since the Debtor’s appeal of this
issue, the bankruptcy case has been converted to a Chapter 7 liquidation proceeding,
the vehicles have finally been turned over, and the bankruptcy court has approved the
public auction of the vehicle collection as part of the estate liquidation. lt is therefore

unclear what relief, if any, the Debtor could seek in his appeal of the decision regarding

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the interim storage of the vehicles during the then-Chapter 11 case. ln his brief, the
Debtor requests that he be allowed to “submit evidence relative to the storage of [the]
vehicles" to the bankruptcy court;5 at oral argument on October 23, 2018, his counsel
indicated that the relief sought is dismissal of the bankruptcy proceedings entirely. The
former requested relief would be futile; the latter has no basis in law. w (“[A] case
can become moot because of a change in the fact situation underlying the dispute,
making relief now pointless.”). The appeal from the Turnover Order is dismissed as

moot.
B. Order Vacating Dismissal

The Debtor next appeals the bankruptcy court’s Order Vacating Dismissal, which
reinstated the bankruptcy case.6 As the bankruptcy court explained in its detailed
memorandum, the Trustee demonstrated “excusable neglec ” under Fed. R. Civ. P.

60(b)(1) and relief from the Dismissal Order was thus warranted. Docket#1405; §§

 

5 The Debtor complains that the bankruptcy court failed to hold an evidentiary hearing to assess his
Parsonsfie|d, Maine, proposa|. The record belies any suggestion that the court did not fairly and carefully
consider the merits of the competing proposals. ln its February 27, 2018 order, the court explained that
its decision to authorize the Trustee’s proposal was based, inter alia, on consideration of:

o Trustee’s Motion to Secure and Store Vehicles (Docket# 1293);
Debtor’s response to the Trustee’s lVlotlon to Secure and Store Vehicles (Docket # 1301);
JHCC’s response to Trustee’s lVlotion to Secure and Store Vehicles (Docket # 1302);
Debtor’s Report Re|ative to Safekeeping of Vehicles (Docket # 1303);
Representations and arguments made at the January 24, 2018 hearing (Docket # 1306);
Debtor’s Motion to Vacate (Docket # 1315);
Trustee’s response to Debtor’s Motion to Vacate (Docket # 1316); and
~ Debtor’s response to the Trustee’s response to Debtor’s Motion to Vacate (Docket # 1318).
Docket # 1319.

 

3 Given the consolidation of 18-cv-10495-RWZ and 18-cv-11498-RWZ, l need not grant leave for
the Debtor’s appeal of the Order Vacating Dismissal, as suggested in Cross-Appel|ant |RS’s brief. That
order has merged into the subsequent, appealable Conversion Order that is now before the court in this
consolidated appeal. See e.g., ln re Petrone, 498 B.R. 1, 3 (B.A.P. 1st Cir. 2013) (Olymgic lVli|ls Corg. v.
DCC Ogerating, lnc., 333 B.R. 540, 548 (B.A.P. tst Cir. 2005), _aff'_d, 477 F.3d 1 (1st Cir. 2007)).

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Fed. R. Bankr. P. 9024 (making Fed. R. Civ. P. 60 applicable to cases under the

Bankruptcy Code).

Bankruptcy courts enjoy “broad discretion in deciding motions for relief under Rule
60(b).” n re Rodriguez, 516 B.R. 177, 184 (B.A.P. 1st Cir. 2014). A determination of
excusable neglect is “at bottom an equitable one, taking account of all relevant
circumstances.” ln re Rivera, 486 B.R. 574, 578 (B.A.P. 1st Cir. 2013) (citing Ei_QU

lnv. Servs. Co. v. Brunswick Assocs. Ltd., 507 U.S. 380, 395 (1993)).

l discern no abuse of discretion in the court’s Order Vacating Dismissa|. A
straightfonNard reading of the Show Cause Order confirms that the bankruptcy judge
had failed to expressly require a response from any party other than the Debtor, stating
only that “[a]ny party in interest may file a response." Docket # 1405. Her finding that
the Trustee’s “neg|ect in failing to oppose dismissal was excusable" under Fed. R. Civ.
P. 60(b)(1) is thus well-founded and provided an equitable resolution in light of the

relevant circumstances.7 ld_. Accordingly, the OrderVacating Dismissal is affirmed.
C. Conversion Order

The Debtor has also appealed the bankruptcy court’s Conversion Orderl which

transformed the case into a Chapter 7 liquidation proceeding

 

7 Following a sufficient explanation that the Trustee demonstrated excusable neglect under Rule
60(b)(1)l the bankruptcy court mentioned factors for relief under Rule 60(b)(6). Despite the digression, l
read the court’s memorandum to clearly predicate relief on Rule 60(b)(1). Contra ln re Acevedo, 577 B.R.
429, 434-35 (D. Mass. 2017).

 

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Upon the filing of a motion to convert a Chapter 11 case, a bankruptcy court must
determine whether “cause” exists to convert and, if so, whether conversion is in the best
interests of creditors and the estate. §§ ln re Hoover, 828 F.3d 5, 8 (1st Cir. 2016).
The relevant statute contains a non-exhaustive list of possible circumstances that may
constitute “cause.” 11 U.S.C. § 1112(b)(4); see In re Gonic Rea|tv Tr.. 909 F.2d 624,
626 (1st Cir. 1990). After finding “cause,” a bankruptcy court has “broad discretion" to
determine what approach is in the best interests of creditors and the estate. In£
A_ndover Covered Bridge. LLC, 553 B.R. at 171 (citing ln re Gilroy, 2008 WL 4531982,

at *4).

Here, the court noted that the Debtor “transported some of the vehicles [subject to
the Turnover Order] to Parsonsfield, lVlaine,” that he had been unable to obtain
confirmation of a Chapter 11 plan over a period of four and a half yearsl and that his
outstanding tax issues “may take years to resolve in the United States Tax Court."
Docket # 1528. The court then determined that conversion to a Chapter 7 case was in
the best interests of creditors and the estate because the Debtor did not have a

“confirmable plan in prospect." |cl_.

First, the record amply supports the court’s finding adequate cause in the Debtor’s
failure to comply with a court order. 11 U.S.C. § 1112(b)(4)(E). As explained earlier in
this |Vlemorandum, the Debtor consistently refused compliance with the Turnover Order
andl at the time of the conversionl the bankruptcy court had denied outright the Debtor’s
attempts to vacate the order and l had denied his Motion to Stay the order pending
appeal. This conduct byithe Debtor, even alone, is enough to sustain the ruling below.

|n re Hoover, 828 F.3d at 9.

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Second, as to the “best interests" analysis, the bankruptcy court did not abuse its
discretion in ruling that, on the facts of this case, conversion was in the best interests of
creditors and the estate and thus fully warranted. The Bankruptcy Code does not define
“best interests" for purposes of the 11 U.S.C. § 1112(b) inquiry, but courts typically

consider the following factors:

(1) whether some creditors received preferential paymentsl
and whether equality of distribution would be better
served by conversion rather than dismissal, . . . [2] the
ability of the trustee in a chapter 7 case to reach assets
for the benefit of creditors, [3] in assessing the interest of
the estate, whether conversion or dismissal of the estate
would maximize the estate's value as an economic
enterprise, . . . [4] whether the debtor had engaged in
misconduct and whether creditors are in need of a
chapter 7 case to protect their interests, [5] whether a
plan has been confirmed and whether any property
remains in the estate to be administered

ln re Andover Covered Bridgel LLC, 553 B.R. at 178 (quoting ln re Costa _Bonita Beach

Resort lnc., 513 B.R. 184, 200-01 (Bankr. D.P.R. 2014)). Given the Debtor’S

 

misconduct and the lack of a confirmed Chapter 11 plan, the court reasonably and
correctly decided that conversion was the course of action most advantageous to both

the creditors and the estate, The Conversion Order is affirmed
D. Contempt and Sanctions Order

Lastly, the Debtor challenges the bankruptcy court’s order finding him in contempt

and imposing sanctions.8

 

a Prior to the bankruptcy court’s issuance of a final order on contempt and sanctions, it issued an
“interim order.” Docket # 1510. The Debtor appealed both orders. l address only the second order,
which is the only finall appealable order. §_e_e_ ln re Fatsisl 405 B.R. 1l 6 (B.A.P. 1st Cir. 2009).

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The bankruptcy court’s decision to impose sanctions ultimately “embodie[d] a '
judgment call." |n re Charbono, 790 F.3d 80, 85 (1st Cir. 2015). Yet in exercising its
discretion to impose sanctions, the court was required to give “individualized
consideration to the particular circumstances.” l_d_._ at 89 (citing Ve|azguez Linares v.
United States, 546 F.3d 710, 711 (1st Cir. 2008)). Here, the court conducted three
hearings on the Trustee’s Motion for Contempt and Re|ated Sanctions: a preliminary
hearing on June 25, 2018, and two evidentiary hearings on July 10, 2018 and
September 17, 2018, respectively. lt then found that the Debtor failed to comply with its
orders regarding delivery of the non-exempt assets of the estate, including the vehicles,
keys, and registration documents Given the uncontradicted fact of the Debtor’s
noncompliance and the clear and unambiguous language of the several court orders
requiring him to turn over the vehicles, the bankruptcy court’s contempt finding is

aermed.

While the court denied the Trustee’s request for “a monetary sanction as penalty for
willfully moving [the] [v]ehicles to a location expressly prohibited by the [court’s] order,"
the court did order the Debtor to compensate the estate for the legal fees and expenses
actually incurred by the Trustee in attempting to obtain compliance with the court’s
orders. The amount of $18,982 was based on a detailed affidavit submitted by the
Trustee. ln addition, prior to imposing the compensatory sanction, the court ordered the
Debtor to file an affidavit setting forth his monthly income and expense information and
at the September 17, 2018 evidentiary hearing, it inquired as to the Debtor’s ability to

pay any amounts ordered. Thereafter, the court concluded that sanctions

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compensating the estate were appropriate “[b]ased upon the Debtor’s testimony as to

available sources of revenue.” Docket # 1612.

The bankruptcy court’s imposition of contempt sanctions - based on a finding of
clear defiance of court orders and ordered in an amount directly related to expenses

incurred as a result of such defiance - is affirmed.
|V. Conc|usion

For the foregoing reasonsl the Debtor’s appeal of the Order Denying the Motion to
Vacate (Civil Action No. 18-10495-RWZ) is dismissed. The bankruptcy court's Order
Vacating Dismissal (Civil Action No. 18-10495-RWZ), Conversion Order (Civil Action
No. 18-11498-RWZ), and Contempt and Sanctions Order (Civil Action No. 18-12101-

RWZ) are aan'ned.

As discussed at oral argument, the Debtor shall have seven days from the date of
this |Vlemorandum to alert this court to matters remaining on appeal not addressed

herein.

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DATE RYA W. ZOBEL
SEN|OR UN|TED STATES D|STR|CT JUDGE

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